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                                                                CCFh,~        Fd``,
                                                                   -~~U.g.~f~T4~
                                                                       ~_'_ CT
                                                                     NOV_5~C~~RT

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                              UNITED STATES DISTRICT COURT

                             CENTRAL DISTRICT OF CALIFORNIA



     UNITED STATES OF AMERICA,                   ease No. . SptC-(Z (~-- O~$7 — J~lS
                        Plaintiff,

               vs.                               ORDER OF DETENTION AFTER HEARING
                                                   [ Fed. R. Crim. P. 32.1(a) (6) ;
                                                     18 U.S.C. ~ 3143(a) ]
     L~.o✓~G~n Bo v► alq .Seva~oS,
                        Defendant.




             The defendant having been arrested in this District pursuant to

     a     warrant   issued by    the   United    States     District          Court          for   the

     Cep• ~IS~ ~C4 ~~ Irv' ~ ~       for alleged violation (s )           of the terms and

      conditions of hi /her [probation] ~_ervised release                               and

             The Court having conducted a detention hearing pursuant                                 to

     Federal Rule of Criminal Procedure 32.1 (a) (6 ) and 18 U. S . C . § 3143 (a) ,

             The Court finds that:

25    A.                                   i /her burden of establishing by
             ( ~ The defendant has not met ii

26           clear and convincing evidence that/she is not likely to flee

27          if released under 18 U.S.C. § 3142 (b) or (c)                      This finding is

28           based on               ba ~~ ~ So ~NC..Q S   U►~~ o C,lt V1~l.Q,VI~Cc~ S-(~l~ S,
                                     I~S~ ~
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           a C.t1~e ~12t~ ~- Wa'~~tM ~ ~ ~~ S ~"D Ty ~~ V1 v wt,¢. r0 vS a.~ ~ aS eS ,
           ~~;o~' f`2+n~ovals , ~~Sc.la.~Vv~d cbv~ f~l~e r~ s~bsfar~~e. pn
           Use bit has h~"s~~ o ~ s ~ c ~ ~ v~ vi'c~t~c s
           and/or

      B.   ( )    The defendant has not met his/her burden of establishing by

           clear and convincing evidence that he/she is not likely to pose

           a danger to the safety of any other person or the community if

           released under 18 U.S.C. § 3142(b) or (c). This finding is based

           on•




           IT THEREFORE IS ORDERED that the defendant be detained pending

      the further revocation proceedings.



      Dated:     ~d ✓. ~~ ~~
                                                 JE   ROSENBLUTH
                                                 U.S. MAGISTRATE JUDGE




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